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 1   ALAN HOSTETTER
     P.O. BOX 1477
 2   SAN CLEMENTE, CA 92674
 3

 4   Pro Se Defendant
 5

 6                                UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF COLUMBIA
 8

 9   UNITED STATES OF AMERICA,                        ) Case No.: 21CR00392-RCL
                                                      )
10                  Plaintiff,                        )
                                                      )
11          vs.                                       )
                                                      )
12   ALAN HOSTETTER,                                  )
                                                      )
13                  Defendant.                        )
                                                      )
14
                                                      )
15                                                    )

16
       DEFENDANT HOSTETTER'S MOTION TO BE EXCUSED FROM ATTENDING
17

18         APRIL 26, 2023 HEARING IN PERSON IN WASHINGTON DC AND FOR

19                               PERMISSION TO APPEAR BY ZOOM

20   TO THE HONORABLE ROYCE LAMBERTH, U.S. DISTRICT JUDGE FOR THE

21   DISTRICT OF COLUMBIA:
22                      Mr. Alan Hostetter, pro se, respectfully requests that this Honorable Court
23
     excuse defendant and his CJA Advisory Counsel, Karren Kenney, from personally attending
24
     the pre-trial hearing currently scheduled for April 26, 2023, in the District Court in
25
     Washington DC. In support of the motion, Mr. Hostetter shows as follows:
                                                    -1-
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 1   1. Defendant has appeared as required by this Court by Zoom in all other appearances.
 2   2. Defendant has appeared when requested by his pre-trial services officer and has complied
 3
     with all requirements of pretrial release.
 4
     3. Trial is currently set for 10 days beginning July 6, 2023 and defendant needs to save funds
 5
     to pay for the extraordinary cost associated with being present for trial in July.
 6
     4. Defendant will be present by Zoom with CJA advisory counsel if the grants permission.
 7

 8
                                                    Respectfully Submitted,
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     DATED: April 12, 2023                          /s/   Alan Hostetter
                                                    Alan S. Hostetter
11                                                  (Pro Se Defendant)

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